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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Criminal No. 25-mj- 3010 -KAR
Vv.
FUNWAYO MBILINI NYAWO,
also known as “Jonathan Funwayo
Nyawo,” “Michael Jacobs” “Robert Jacobs,”
and “Carl Fields”

AFFIDAVIT OF TASK FORCE OFFICER MIA PIAZZA IN SUPPORT OF
AN APPLICATION FOR A CRIMINAL COMPLAINT
I, MIA PIAZZA, having been sworn, state:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Massachusetts Deputy Sheriff currently assigned to the Federal Bureau of
Investigation Joint Terrorism Task Force (“FBI JTTF”) in Springfield, Massachusetts. I am a
sworn law enforcement officer of the United States Government within the meaning of 18 U.S.C.
§ 2510(7) and I am empowered by law to conduct investigations of, and to make arrests for, federal
offenses, including those enumerated in Title 18 of the United States Code.

2. I respectfully submit this affidavit in support of a Criminal Complaint charging that
on or about September 11, 2024, in the District of Massachusetts and elsewhere, Funwayo Mbilini

Nyawo (“Nyawo”) violated Title 18, United States Code, Section 875(c) (Interstate Transmission
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Of Threatening Communications) (the “Subject Offense”) — to wit, a Twitter! post that stated “Kill
ee the Jew rat, masquerading as a ee”

a I have been a member of the Hampden County Sheriff's Office (““HCSO”) since
1999. I have supervisory, training, operational and administration experience within the HCSO.
At the HSCO, I have participated in a multitude of investigations involving possession and
distribution of controlled substances, sexual assaults, assaults, death, and crimes against persons
and/or property. In October 2022, I was assigned to the FBI JTTF as a Task Force Officer
(“TFO”). My primary assignment is the investigations of both international and domestic
terrorism, as well as other criminal offenses.

4, I have received specialized training in Middle Eastern intelligence, interview and
interrogation; social media investigations and analysis; investigations of controlled substance
offenses; surveillance techniques; narcotics recognition; authoring and executing search warrants;
working with confidential informants; sexual assault investigations; and domestic/foreign
government investigations. I also have experience conducting surveillance, handling confidential
human sources, handling cooperating witnesses, and executing arrest, search, and seizure warrants.
I have debriefed numerous defendants, confidential human sources, and witnesses. I have also
participated in the execution of numerous search warrants.

5. The facts in this affidavit come from my personal observations and review of

' X describes itself as the successor in interest to Twitter, Inc. The terms X and Twitter
are used interchangeably, by both X and in society. For ease of reading, X will be referred to as
Twitter.

* Title 18, United States Code, Section 875(c) states: “Whoever transmits in interstate or
foreign commerce any communication containing any threat to kidnap any person or any threat to
injure the person of another, shall be fined under this title or imprisoned not more than five years,
or both.” 18 U.S.C. § 875(c).
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records, my training and experience, and information obtained from other agents and witnesses.
This affidavit includes only those facts I believe are necessary to establish probable cause and does
not include all of the facts uncovered during the investigation. Unless otherwise specified, all
dates and times are approximate and all statements are in sum and substance.

6. As set forth below, there is probable cause to believe that between approximately

July 30, 2024 and November 7, 2024, Nyawo committed numerous violations of the Subject

Offense, targeting Pa ae | i their family
members; a former Cee the Teo the children

of Wilbraham and Boston; members of the Wilbraham Police Department, Wilbraham Fire

Department, and the Miami Police Department (and their family members); shopping malls in

Holyoke and Burlington; and the Pe ementary School in aces among others.
FACTUAL BACKGROUND REGARDING TWITTER ACCOUNTS

i. X Corp. owns and operates Twitter, a social networking and microblogging service
that can be accessed at http://www.twitter.com and via the Twitter mobile application (“app”).
Generally, Twitter allows users to register and create an account; to personalize (if desired) an
account profile page; and to send and receive communications via the platform.

8. Twitter permits its users to post information on the platform that can contain photos,
videos, links, and/or a maximum of 280 characters of text. Users can choose to share these posts,
sometimes referred to as “Tweets,” with the public or, alternatively, to “protect” their Tweets by
making them viewable by only a preapproved list of “followers.” Each Tweet includes a
timestamp that displays when the Tweet was posted to Twitter.

9. Individuals must register for a Twitter account to send Tweets, to “follow” accounts

in order to view protected Tweets, and to send and receive direct messages. A user may register
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for an account for free by visiting Twitter’s website or via the Twitter app. When a user creates a
new Twitter account, Twitter assigns that account a unique user JID (“UID”). A user must also
select a password as well as a unique Twitter username (also known as a “handle”’). Twitter then
appends the @ symbol in front of whatever username the user selects to create the Twitter
username (for example: @example). The user may also select a different name (the “display
name”), which is not automatically preceded by the @ symbol, to be displayed on his profile
picture and at the top of his Tweets alongside his Twitter username. The display name can include
symbols similar to emojis. The user can change their password, username, and/or display name at
any time, but the UID for the account will remain constant.
10. At the time of Twitter account creation, X Corp. asks the user for certain identity
and contact information, including:
a. name;
b. email address and/or telephone number; and
c. month and year of birth.
11. X Corp. also keeps certain information relating to the creation of each Twitter

account, including:

a. the date and time at which the user’s account was created; and
b. the method of account creation (e.g., website or Twitter app).
12. Upon the creation of a Twitter account, a generic profile page is automatically

created for the user. This page displays information including:
a. the user’s Twitter username;
b. the display name;

c. the number of Twitter accounts the user is following;
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d. the number of Twitter accounts that are following the user; and
e. Tweets sent by the user (although, as noted above, if the user has chosen to
protect their Tweets they will be visible only to preapproved “followers”).

13. The user can personalize this general profile page by posting a personal picture or
image (known as an “avatar”) to appear on the page and/or a banner image to appear across the
top of the profile page. The user can also add text to create a short biography, to identify his
location, to provide a link to his website, or to specify his date of birth.

14. X Corp. collects and retains information about a user’s use of the Twitter service,
including:

a. content of and metadata relating to Tweets and Direct Messages;

b. photos, images, and videos that are shared via Twitter and stored in the
user’s Media Timeline;

c. the identity of the accounts that a user follows and the accounts that follow
the user’s account;

d. the content uploaded to a user’s profile page, including their avatar, banner

image, and bio;

e. information about Tweets the account has liked;
f. information about Lists associated with the account;
g. information about the Spaces that a user has participated in, including the

host of the Space, its start and end times, and information about other attendees;
and
h. applications that are connected to the Twitter account.

15. X Corp. also collects and retains various other data about a user and his/her activity,
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including:
a. logs of Internet Protocol (“IP”) addresses used to login to Twitter and the
timestamp associated with such logins;
b. transactional records reflecting, for example, when a user changed their
display name or email address;
Cc. the identities of accounts that are blocked or muted by the user; and
d. information relating to mobile devices and/or web browsers used to access
the account, including a Twitter-generated identifier called a UUID that is unique
to a given device.

FACTUAL BACKGROUND REGARDING GOOGLE ACCOUNTS

16. Google is a United States company that offers to the public through its Google
Accounts a variety of online services, including email, cloud storage, digital payments, and
productivity applications, which can be accessed through a web browser or mobile applications.
Google also offers to anyone, whether or not they have a Google Account, a free web browser
called Google Chrome, a free search engine called Google Search, a free video streaming site
called YouTube, a free mapping service called Google Maps, and a free traffic tracking service
called Waze. Many of these free services offer additional functionality if the user signs into their
Google Account.

17. Inaddition, Google offers an operating system (“OS”) for mobile devices, including
cellular phones, known as Android. Google also sells devices, including laptops, mobile phones,
tablets, smart speakers, security cameras, and wireless routers. Users of Android and Google
devices are prompted to connect their device to a Google Account when they first turn on the

device, and a Google Account is required for certain functionalities on these devices.
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18. Signing up for a Google Account automatically generates an email address at the
domain gmail.com. That email address will be the log-in username for access to the Google
Account,

19. Google provides email services (called Gmail) to Google Accounts through email
addresses at gmail.com or enterprise email addresses hosted by Google. Gmail can be accessed
through a web browser or a mobile application. Additional email addresses (“recovery,”
“secondary,” “forwarding,” or “alternate” email addresses) can be associated with the Google
Account by the user. Google preserves emails associated with a Google Account indefinitely,
unless the user deletes them.

20. Google advertises its services as “One Account. All of Google working for you.”
Once logged into a Google Account, a user can connect to Google’s full suite of services offered
to the public, described in further detail below. In addition, Google keeps certain records indicating
ownership and usage of the Google Account across services, described further after the description
of services below.

21. Google integrates its various services to make it easier for Google Accounts to
access the full Google suite of services. For example, users accessing their Google Account
through their browser can toggle between Google Services via a toolbar displayed on the top of
most Google service pages, including Gmail and Drive. Google Hangout, Meet, and Chat
conversations pop up within the same browser window as Gmail. Attachments in Gmail are
displayed with a button that allows the user to save the attachment directly to Google Drive. If
someone shares a document with a Google Account user in Google Does, the contact information
for that individual will be saved in the user’s Google Contacts. Google Voice voicemail transcripts

and missed call notifications can be sent to a user’s Gmail account. And if a user logs into their
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Google Account on the Chrome browser, their subsequent Chrome browser and Google Search
activity is associated with that Google Account, depending on user settings.

22. | When individuals register with Google for a Google Account, Google asks users to
provide certain personal identifying information, including the user’s full name, telephone number,
birthday, and gender. If a user is paying for services, the user must also provide a physical address
and means and source of payment.

23. Google typically retains and can provide certain transactional information about the
creation and use of each account on its system. Google captures the date on which the account was
created, the length of service, log-in times and durations, the types of services utilized by the
Google Account, the status of the account (including whether the account is inactive or closed),
the methods used to connect to the account (such as logging into the account via Google’s website
or using a mobile application), details about the devices used to access the account, and other log
files that reflect usage of the account.

24. ~Inaddition, Google keeps records of the Internet Protocol (“IP”) addresses used to
register the account and accept Google’s terms of service, as well as the IP addresses associated
with particular logins to the account. Because every device that connects to the Internet must use
an IP address, IP address information can help to identify which computers or other devices were
used to access the Google Account.

PROBABLE CAUSE THAT NYAWO COMMITTED THE SUBJECT OFFENSE

Nvyawo’s Repeated Encounters With Law Enforcement

25. According to an in-house summary report of the Wilbraham Police Department

(“WPD”) dated November 21, 2024:

a. Nyawo is a 36-year old man whose last known address is fee
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Road, Wilbraham, MA Pa R000”):

b. Nyawo is also known as “Jonathan Nyawo” and “Victor Mitchells”;

¢. Nyawo’s mother ae. his grandmother SS

d. Nyawo is currently unemployed;

€. Nyawo has been the subject of many WPD Incident Reports, including

those depicting him as intoxicated, erratic, or missing; and
f. On October 7, 2024, Nyawo was charged with assault on ambulance
personnel and disorderly conduct in Palmer District Court, and has an open arrest
warrant for this case.
26. According to WPD Incident Report No. 16WIL-581-OF, on August 17, 2016, the
WPD received a call fro who stated that she and her son were arguing at her
mother’s residence Road. WPD Captain Robert G. Zollo and another officer

arrived at the residence and spoke vil who stated that Nyawo “has psychological

issues” and had been drinking vodka. Captain Zollo then spoke with Nyawo, who later apologized
27. According to WPD Incident Report No. 16WIL-584-OF, on August 18, 2016, then

WPD Sergeant (now Chief) Edward C. Lennon and another officer encountered Nyawo stumbling

on the road nea eo oad. They escorted Nyawo ae. where they

met a who stated that “Nyawo has been heavily abusing alcohol and needs treatment.”

The officers informed her about the Section 35 civil commitment process and then departed.
28, According to WPD Arrest Report No. 16WIL-440-AR, later on August 18, 2016,
the WPD received a report of an intoxicated male walking on a nearby road. Sergeant Lennon and

another officer encountered Nyawo, who appeared intoxicated. The officers placed him into
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protective custody and escorted him to the WPD, until he was transported by ambulance to

Baystate Medical Center.

20.

On or about August 22, 2016, the FBI received a call from a medical representative

at Walden Behavioral Health Care in Waltham, Massachusetts. The representative reported that:

30.

a. Nyawo was brought to the clinic by the WPD and admitted on or about
August 22, 2016;

b. Nyawo had journal entries during 2015-16 that contained repeated
threatening statements, such as “spread terror through killing,” which was written
seven times in a single day;

c. Nyawo expressed delusional thoughts, such as “I’m the King of
Swaziland”;

d. Nyawo was scheduled to be released from the hospital the following week
and may be referred to a local substance abuse clinic for alcohol and depression
issues.

On September 16, 2016, Special Agent Jefferey Lawerence and TFO Ronald

Sheehan interviewed Nyawo at his residence, IRR oad. Nyawo stated:

a. He became a problem drinker in about May 2016;

b. Several months ago, while intoxicated, he wrote inflammatory and
threatening statements in his journal;

é, He was intoxicated when he wrote “spread terror through killing” but it was
not a legitimate threat directed at any individual, group, or idea;

d. He holds no ill will or hatred toward the United States or any individuals;

S He is looking for an outpatient treatment center to continue his treatment
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for alcoholism.

31. According to CBP travel records, Nyawo had traveled internationally several times:
in 2004 to South Africa and the United Kingdom; in 2009 to South Africa, Senegal, and Dubai; in
2010 to South Africa; and possibly to Turkey in 2016,

32. On September 30, 2016, Special Agent Lawerence and TFO Sheehan interviewed
Nyawo again TTT 020. Nyawo stated:

a. He traveled to South Africa (with layovers in Dubai and Senegal) to visit
his father; and
b. He traveled to Serbia in 2015 and 2016.7

33. According to WPD Incident Report No. 16WIL-700-OF, on October 6, 2016, Patrol
Officer Thomas D. Mutya and another officer arrived at IR & ox following a report
of a domestic disturbance. ee informed them that Nyawo “has a substantial alcohol
problem” and that she has asked Nyawo to leave for the evening after he had argued with his uncle
ona telephone call. Later, she agreed that Nyawo could stay if he went into his room for the night,
Nyawo did so, and the officers departed.

34. According to WPD Incident Report No. 17 WIL-453-OF, on July 8, 207
reported Nyawo missing. Nyawo’s mother, a later told officers that he had been
diagnosed with bi-polar disorder and was prescribed the medication Adderall. On August 8, 2017,

the Massachusetts State Police (“MSP”) located Nyawo on a shuttle bus at Logan Airport,

determined he was intoxicated, and placed him into protective custody. |e ee nd
a. custody of Nyawo.

3 On October 5, 2016, the FBI closed their investigation after it determined that there was
no identifiable threat to national security at that time.

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35. According to MSP Report No. T2017-579 describing this incident, on August 8,
2017, MSP ‘Trooper Daniel O’Neill and another Trooper encountered Nyawo unconscious and
intoxicated on a bus at the Logan Airport train station and woke him up. Nyawo provided a shelter
identification card in the name of “Carl Fields” and possessed a Koran and a book entitled

“Terrorist Strategies To Defeat America.”* After the Troopers took him into protective custody,

they identified him as Nyawo and contacted oe who stated that she would pick him

up.

36. According to an FBI report, on August 10, 2017, a social worker at Bournewood
Psychiatric Hospital in Brookline, Massachusetts (““Bournewood”) reported to the FBI that on
August 8, 2017, the MSP had transported Nyawo to Massachusetts General Hospital (“MGH”),
which then transferred him to Bournewood. According to the MGH report provided to
Bournewood, Nyawo was “fixated on Jihad”, had books on destroying America, and had stated
“it’s time for me to die,” and an MGH doctor had signed a Section 12 certification that Nyawo
was a harm to himself or others. At Bournewood, Nyawo denied the statements that he had made
at MGH, explained that he had obtained the books from the Boston Public Library, and asserted
that he was exploring the conservative or fundamental side of Islam.

37. On September 19, 2017, September 25, 2017, and October 3, 2017, the FBI

attempted to locate Nyawo by calling to or visiting TG e000.

38. On October 5, 2017, Special Agent Lawrence and TFO Sheehan interviewed feat

SS who stated that:

a. She had not seen or spoken to Nyawo in approximately one month;

4 According to the report, photos of these items were uploaded into an MSP database, MSP
has done a diligent search of their systems and have been unable to locate the photos.
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b. She and Nyawo’s mother, a were very concerned about his

well-being;
c. Nyawo had converted to Islam and was praying up to five times a day;
d. Nyawo does not own any guns or have access to any weapons, and has never

engaged in physical violence or threats of violence;
e; Nyawo has an alcohol abuse problem that changes his behavior and makes
him a threat to himself.
39. — According to WPD Incident Report No. 18 WIL-16-OF, on January 7, 2018, i
BR ces Nyawo missing, but later informed the WPD that he had returned to the residence.
40. According to WPD Incident Report No. 19WIL-12-OF, on January 4, 2019,
a x: a welfare check TTR 020. Patrolman Brian C. Strong and
another officer arrived at the residence and met with Nyawo, who appeared coherent and
cognizant, and the officers then departed.
41. According to WPD Incident Report No. 19WIL-107-OF, on February 20, 2019,

then Captain Edward C. Lennon and another officer responded to a report of a domestic

disturbance at Pe 020. They observed Nyawo’s uncle,
restraining Nyawo on the floor. eS an

Nyawo had not been taking his mental health medication, had behaved erratically, and then stated

physically

informed the officers that

that he wanted to kill himself and became aggressive. Nyawo denied this conduct, but he agreed
to be voluntarily transported to a local hospital for evaluation.

42. According to WPD Incident Report No. 19WIL-434-OF, on June 30, 2019, Patrol

> On October 27, 2017, the FBI closed their investigation based upon the lack of any nexus
to terrorism and no commission of any federal violation.
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Officer Karl Osborn met i | who reported Nyawo missing. On July 15, 2019,
a: that she had located her son at a rehab facility in Orlando, Florida.

43. | According to WPD Incident Report No. 20WIL-827-OF, on October 16, 2020,
Patrol Officer Joshua D. Gagnon responded to a report of a possible medical event Pe
a ee. the officers that Nyawo = a been “bickering back
and forth,” and all three agreed to give each other their own space for the night, and the officers
departed.
44, According to WPD Incident Report No. 22WIL-723-OF, on September 16, 2022,
BE pore Nyawo missing. Sergeant Brent P. Noyes contacted Nyawo by phone, who
stated that he was doing fine and would contact his family.
45. According to WPD Incident Report No. 23 WIL-2-OF, on January 1, 2
FR porta to Patrol Officer Justin R. Wall that Nyawo had tackled her to the floor on
December 31, 2022, injuring her knee, back, and elbow.
46. According to WPD Incident Report No. 23WIL-247-OF, on March 31, 2023,
Nyawo’s oo reported that Nyawo was “out of control,” the two had engaged in
a physical altercation, and Nyawo had been not taking his medication.
47. According to WPD Incident Report No. 23WIL-419-OF, on May 28, 2023, a
BB :epored that Nyawo had gone missing approximately one week earlier. On January 11,
2024, the WPD received notice from the Miami-Dade Police Department that they had located
Nyawo in Pinecrest, Florida after he had trespassed in a business there.
48. According to WPD Incident Report No. 24WIL-627-OF, on July 31, 202
PR eporied that Nyawo had returned home approximately two weeks earlier “after wandering

away from an extended period of time” and that he had been acting strangely. The Palmer Police
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Department located him a short while later.
49, According to WPD Incident Report No. 24WIL-747-OF, on September 4, 2024,
PE pores that a man believed to be Nyawo acted aggressively toward her at Post
Office Park (near Wilbraham’s Spec Pond). When officers approached Nyawo nearby, he
admitted speaking with a woman in the park area and then swore at the officers.

50. According to WPD Incident Report No. 24WIL-850-OF, on October 4, 2024, the
Wilbraham Fire Department (“WFD”) reported that an individual (later identified as Nyawo) had
entered their lobby, accused the WFD of harassing him, asserted that the WFD was targeting him
because he was a black man, and claimed that he had a lot of friends who would hold them
accountable. The WFD stated that Nyawo had come to their lobby on a prior occasion and made
similar accusations and approximately one week earlier had thrown an object at one of its fire
trucks. WPD Set. Charles Moore located Nyawo, who appeared agitated and paranoid and stated
that: the WFD was harassing him because he was a black Muslim and that he had Muslim friends
all over who were watching the WPD and WED at all times.

51. According to WPD Summons Report No. 24WIL-AR, on October 7, 2024, the
WED reported that a man later identified as Nyawo had jumped in front of an ambulance that was
transporting a patient and then attempted to enter the ambulance. The Palmer District Court
subsequent issued an arrest warrant based upon charges of assault on ambulance personnel and
disorderly conduct, but thus far law enforcement officers have not located Nyawo.

Nyawo’s Twitter and Google Accounts

52. As set forth below, | believe that Nyawo used the following social media accounts,
including to post various threatening communications such as the violation of the Subject Offense:

a. Twitter account @NyawoF unwa50702;
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b. Twitter account @MichaelJac46656;
c. Google account mjacobs0751@gmail.com (which is the registered email
account for Twitter account @MichaelJac46656, as set forth below); and
d. Google account ramses.zulul2@gmail.com (which is the registered email
account for Twitter account @NyawoFunwa50702, as set forth below).
53. According to X Corp. records, @NyawoFunwa50702 has the following subscriber
information:
a. User name: NyawoFunwa50702
b. Account Display Name: Funwayo Nyawo
c. Account Id: 1814635808306896896
d. Created At: 2024-07-20 T 12:18:05.778Z°

i. Email: ramses.zulul2@gmail.com

€. User Creation IP: 71.10.233.198
54. According to X Corp. records, @MichaelJac46656 has the following subscriber
information:
a. User name: MichaelJac46656
b. Account Display Name: Robert Jacobs

c. Email: mjacobs0751@gmail.com

d. Created At: 2024-09-07; T 01:23:27.262Z2

e. User Creation IP: 71.10.233.198 —7.e., the same JP address that was used to

6 According to X Corp., their time records are kept in Universal Time Coordinated
(“UTC”), which is a fixed time zone that never observes daylight savings time. Eastern Standard
Time (“EST”) is either four or five hours behind UTC, depending on daylight savings.
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created the @NyawoFunwa50702 account.

55. According to Charter Communications, IP address 71.10.233.198 (Ze., the IP
address used to create both the @NyawoFunwa50702 and @MichaelJac46656 accounts) was
issued to a. Nyawo’s grandmother, according to the WPD) at R02,
Wilbraham, MA 01095 (i.e., Nyawo’s usual address, according to the WPD) for the following
period: December 17, 2023 to January 28, 2025. Hereafter, I will describe IP address

71.20.233.198 as the a. IP Address.

56. According to Google records, the mjacobs0751(@gmail.com account (which is the

email account for the @MichaelJac46656 Twitter account) has the following subscriber

information:
a. Name: Michael Jacobs
b. Birthday: ey 1988 (i.e., Nyawo’s actual date of birth)
& Created on: September 7, 2024 (i.e., the same day that the Twitter
@MichaelJac46656 account was created)
d. Disabled: September 19, 2024
57. According to Google records, the ramses.zulul2@gmail.com account (which is the

email account for the @NyawoFunwa50702 Twitter account) has the following subscriber
information:

a. Google Account ID: 177066396619

b. Name: Funwayo Nyawo

e, Created on: July 10, 2024

d. Terms of Service IP: 2600:6c64:797f:7db3:7ded:686:f19:6127

é Birthday 1988 (i.e., Nyawo’s actual date of birth)
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58. On September 11, 2024, mjacobs0751(@gmail.com sent an email entitled “Loan

Officer interview” to ramses.zulul2@gmail.com, attaching a file entitled “Screenshot

(2424).png,” which consisted of a calendar entry of an interview with a person named Bryan
Hanley (“Hanley”).

59, On September 12, 2024, mjacobs0751/@gmail.com responded to a Craigslist post

seeking employment and attached a file entitled “Funwayo Resume.odt.” The resume included
the following information:
FUNWAYO M. NYAWO

funwayo.nyawo@gmail.comffiit 7349

Bio: Greetings! My name is Funwayo Nyawo and | am interested in
your available position.

Al Qaeda and ISIS

60. On or about October 8, 1999, the United States Secretary of State designated al
Qa’ida (“AQ”), also known as al Qaeda, as a Foreign Terrorist Organization (“FTO”) under
Section 219 of the Immigration and Nationality Act and as a Specially Designated Global Terrorist
entity under section 1(b) of Executive Order 13224. The Secretary of State also added the
following aliases to the FTO listing: “the Base,” the Islamic Army, the World Islamic Front for
Jihad Against Jews and Crusaders, the Islamic Army for the Liberation of the Holy Places, the
Usama Bin Laden Network, the Usama Bin Laden Organization, Islamic Salvation Foundation,
and The Group for the Preservation of the Holy Sites.

61. On or about October 15, 2004, the Secretary of State designated al Qaeda in Iraq
(“AQI”), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign Terrorist Organization
(“FTO”) under Section 219 of the Immigration and Nationality Act (the “INA”) and as a Specially

Designated Global Terrorist (“SDGT”) under section I(b) of Executive Order 13224.
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62. Onor about May 15, 2014, the Secretary of State amended the designation of AQI
as an FTO under Section 219 of the INA and as a Specially Designated Global Terrorist entity
under section 1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant
(“ISIL”) as its primary name. The Secretary also added the following aliases to the FTO listing:
the Islamic State of Iraq and al-Sham (7.e., “ISIS” — which is how the FTO will be referenced
herein), the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-“Iraq wa-sh-Sham, Daesh,
Dawla al Islamiya, and Al-Furgan Establishment for Media Production. On September 21, 2015,
the Secretary of State added the following aliases to the FTO and SDGT listings: Islamic State,
ISIL, and ISIS.

63. To date, Al Qaeda and ISIS remain designated FTOs.

Nyawo’s Threatening Communications

64. On July 30 , 2024, @NyawoFunwa50702 posed the message “Hey Wilbraham,
what do your children think about the death threats they're getting from ISIS?” and the following

image of children, a skull-and-crossbones, and the words “I AM GOING TO KILL YOU”:
20 of 48

Steed Sti |

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65. On August 1, 2024, @NyawoFunwa50702 posted the message “Blow up the
Wilbraham Police Department. Kidnap and kill the officers [sic] children. Allahu Akbar!”

followed by a photograph of WPD marked patrol cars in a parking lot:

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66. On August 17, 2024, @NyawoFunwa50702 posted the message “Kill the children
of the Wilbraham Police, blow up their homes” and the following image of the WPD headquarters

building:
Case 3:25-cr-30015-MGM Document8 _ Filed 02/07/25 Page 22 of 48

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67. Also on August 17, 2024, @NyawoFunwa50702 posted the message “Mujahadeen,

*s family” and the following threat to kill Se

follow and kil

and ‘amily:
Case 3:25-cr-30015-MGM Document8 _ Filed 02/07/25 Page 23 of 48

Funwayo Nyawo @NyawoFunwa5@7@2 - Aug 17

Ov» ta Qo il 6 At
Funwayo Nyawo
@NyawoFunwa5@7@2

Kill them

11:17 AM - Aug 17, 2024 - 6 Views

68. On August 20, 2024, @NyawoFunwaS0702 posted the message “Kil! [MY

PG an (EE family. Either now or later. P.S. pels obviously Jewish which explains Ee
obsession” and then the following additional threat to kill eae and amity:
Case 3:25-cr-30015-MGM Documents Filed 02/07/25 Page 24 of 48

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69. On August 21, 2024, @NwyayoFunwa50702 posted the following threats to the
children of Wilbraham and Boston and to members of the WPD and WFD and their families and

an image of apparently emaciated and dead children:
Case 3:25-cr-30015-MGM Document8 _ Filed 02/07/25 Page 25 of 48

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VE LCe pm elciielcom BCMA le)

70. Later on August 21, 2024, @NwyayoFunwa50702 posted the following threat to

the children of Massachusetts, followed by the same photograph of apparently emaciated and dead
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 26 of 48

children and a screenshot of the website for Wilbraham’s Spec Day Camp’:

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SPEC DAY CAMP

SPEC DAY CAMP

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7 Spec Day Camp is a six-week, children’s day camp run by the Wilbraham Parks and
Recreation Department.
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 27 of 48

71. On September 4, 2024, @NyawoFunwa50702 posted the following threat to kill

@ Funwayo Nyawo

@NyawoFunwa5@7@2

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beep aCe foM Cat 1 a) Mate yom CO (ot= V4

8:09 AM - Sep 4, 2024 - 25 Views

72. According to WPD Incident Report No. 24WIL-753-OF:
a. On September 5, 2024, WPD Patrol Officer Karl Osborn observed the
following posts by (@NyawoFunwa50702, in which the user stated “Kill the

children,” “Kill the children in wilbraham,” “Dead,” and “Kill the children in

Springfield too.”

8 is an American politician and eee
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 28 of 48

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b. On about September 5, 2024, Officer Osborn observed that the
@NyawoFunwa50702 account posted the following screen capture concerning

Spec Day Camp:

necks

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j ia naa hese

ede h=} 5]

UAL hZem w Ale: hiZo)

Home >» Government > Departments » P-
Z> Parks & Recreation » Spec Day Camp

SPEC DAY CAMP

mE baw ire hicem \ hie: bute)

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e. On September 6, 2024, Officer Osborn attempted to speak with Nyawo by
telephone and left him a voicemail. Officer Osborn then contacted Nyawo’s
grandmother, who informed him that she had been growing concerned
about Nyawo’s behavior since returning from Mexico approximately a month ago.
d. Later on September 6, 2024, Officer Osborn met with Nyawo at his
residence. Officer Osborn asked Nyawo about the @NyawoFunwa50702 account,
and Nyawo stated that he had no connection to it. Officer Osborn showed Nyawo
several photographs taken from the account, including a photo showing the user
name “Funwayo Nyawo,” but Nyawo again denied having any connection to the
account. Officer Osborn then spoke with Nyawo regarding his mental health and
offered to help provide resources if he wanted them, but Nyawo stated that he was
in good mental health and declined any help to resources.
73. As set forth above, on September 7, 2024 at 1:23:27 UTC (or September 6, 2024 at
9:23 p.m. EST) the @MichaelJac4665 account was created from th Eee ae Address that
was subscribed to by Nyawo’s grandmother fill at Nyawo’s usual address in Wilbraham.

74. According to Google records for the mjacobs0751@gmail.com Google account

(which is the registered email account for the Twitter account @MichaelJac46656), on September
7, 2024, at approximately 01:55 UTC to 01:57 UTC, the account:
a. visited the Wilbraham Spec Day Camp website; and

b. conducted image searches for the following search terms: ae

oo ce 3
eee ee ant Ree
Case 3:25-cr-30015-MGM Document8 _ Filed 02/07/25 Page 31 of 48

75. On September 6, 2024 at 9:58 p.m.,? @MichaelJac46656 posted the following

tet to

WY

SCs) rota ae ister) oy

” This corresponds to 01:58 UTC on September 7, 2024, or approximately thirty minutes
after the @MichaelJac46656 account was created.
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 32 of 48

76. Later on September 6, 2024, @MichaelJac46656 posted the following threat to kill

Soe) ete) gia Fe lect bho
V7) 4 Pasar e aE ‘af
WIE litclelcrciemeceg Ce Sal)

OP Pme ict) tis) gm ratme) Oho
0

i ERT) ECAY oli core

77. Also on September 6, 2024, @NyawoFunwa50702 posted the following message:

“Kill nt

78. On September 7, 2024, @MichaelJac46656 posted the following message, which |

believe relates to woe “Can we pu a. sleep with our resources?”

'0 According to the CJIS public records oe the mother of
and resides af Gloucester, M n January 23, 2025, | spoke toy 74

who stated that

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79. On September 8, 2024, @MichaelJac46656 posted the following message, which |

believe relates to Nyawo’s a “Maybefillean die in her sleep Tonight.”

80. On September 11, 2024, at 21:58:02 UTC @MichaelJac46656 posted the following

threats to kill Senatofilil naff sitaren

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Me ge iu aTSN Bele aiteke Weicclelipeeeac]

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81. According to Twitter records, @MichaelJac46656 began a twitter session on

September 10, 2024 at 23:14:49 UTC, which was the last sign-in prior to the above post. The IP
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 34 of 48

address associated with that sign-in was ena Road IP Address.'' According to WPD

Incident Report No. 24WIL-753-OF, Nyawo was located ee Road five days before

this threat was made. Thus, there is probable cause to believe that Nyawo posted these threats

82. On September 13, 2024, @MichaelJac46656 posted the following threat to kill

'l According to Twitter, it does not keep records of IP addresses for individual posts.
Rather, Twitter keeps a record of IP addresses based on sessions. The IP address used to post a
message will almost always be the IP address of the most recent session sign-on. The only
circumstance where this would not be accurate is if an account was signed in on multiple devices
at the same time from different IP addresses.
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Robert Jacobs
@MichaeWac46656

Kill oe now or later

5:52 PM - Sep 13, 2024 -4 View

OQ tl oO 4

83. | On September 15 and 17, 2024, @MichaelJac46656 posted the following threats to

kill, which I believe relate to Nyawo’s Peete
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a. September 15, 2024 at 23:14:59 UTC:!? “Kill os doctor. Can we stop her
from getting her pain meds?”
b. September 17, 2024 at 07:53:36 UTC: “ISIS: Ki
84. On September 20, 2024 at 05:53:03 UTC,'* @MichaelJac46656 posted the
message “Follow and kill the families of the Wilbraham Police Dep.,” followed by this image of

what appears to be an ISIS battle flag:

85. Also on September 20, 2024 at 00:31:23 UTC,'> @MichaelJac46656 posted the

'2 Closest session login: September 15, 2024 at 21:42:42 UTC, using the
IP Address.

'5 Closest session login: September | 6, 2024, at 23:43:20 UTC, using the
IP Address.

'4 Closest session login: September 19, 2024, at 23:20:40 UTC, using the
IP Address.

'S Closest session login: September 19, 2024, at 23:20:40 UTC, using the
IP Address.

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message “Him or a manager in the Wilbraham Police Department that looks like him. Kill his

daughter and granddaughter” followed by these photographs of retired eee

and the WPD police headquarters:

86. According to Twitter records, the session IP address associated with all the threats

detailed in paragraphs 82-84 was nde ee Address, and according to Charter records, the

subscriber of this IP address TE os Thus, there is probable cause

to believe that Nyawo posted these threats from a.

87. On September 21, 2024, @MichaelJac46656 posted the message “Hunt down and

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kill the families of the Springfield police like they're animals.”

88. On September 22, 2024, @NyawoFunwa50702 posted the message ee

Bae

89. On September 24, 2024, @MichaelJac46656 posted the following threat to kill

bee ee amily, followed by a photograph ae nd five members of

family:
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Robert Jecobs

Shichaelecd5656

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= Post your reply

@ Robert Jacobs GvichaeliandSG55 - th

th S Ma’ Nf

90. On September 25, 2024, @MichaelJac46656 posted the message “Bomb/kill”

followed by these internet screenshots pertaining to the Holyoke Mall and the Burlington Mall:
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6:09PM OAH - + 895%

Near me Open now Within 20 mi Top rated

.
+
*

Holyoke Mall

4,3 ewe & F (9.6K)

Shopping mall Holyoke, MA

Open: Closes 8 PM

Enclosed center with 150 stares & eats

X Call @ Directions & Website

eee

Burlington Mall

4,4 & tee 4% (9.6K)

Shopping mail - Burlington, MA

Open: Closes 8 PM

Sizable venue for brand-name shopping

&, Call @ Directions § Website < S$

Nintials RAI

<q @ a
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 41 of 48

91. Also on September 25, 2024, @MichaelJac46656 posted the following threat to kill
the children in Wilbraham: “Set Massachusetts ablaze. Target the children. Specifically, the

children in Wilbraham. Kill them.”
92. On September 26, 2024, @MichaelJac46656 posted the following threat to kill

children of a couple that lived “on the corner eee which I know to be a road that intersects

a... less than half a mile from the residence ie “Shoot up the house on the

corner ff a the Egyptian Jew and his Egyptian wife live in. Kill their children if

possible.”

93. On September 27, 2024, @MichaelJac46656 posted the threatening message

ee school. Torch it. Kill the kids,” followed by this photograph «ee
Elementary School in Pee MA:

94. On September 30, 2024, @NyawoFunwa50702 posted the following threat to the

residents and children of Wilbraham:
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95. On October 1, 2024, @MichaelJac46656 posted the following threat, addressed to

nd amity, followed by a photograph a

“Desh,” !® to kill and

five members of family:

'6 Based upon my training, experience, and knowledge of the case, | believe that when
Nyawo wrote “Desh” he intended to write “Daesh,” which is another name for ISIS, as discussed
in greater detail above.
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Dyess} 0,1 Eas | iFeTatiihaam Masia ,@elelmai{syave (mors lel a nveygat=
ifo}mors\ Vin MKe) me) da le)atsiotsy

96. On October 3, 2024, @MichaelJac46656 posted the following threatening
messages:
a. Hit Springfield hard. Take out the leadership
b. Kill the political leadership of Massachusetts.
97. On October 4, 2024, @MichaelJac46656 posted the following threat to kidnap and

kill the daughters of the WPD and the WFD:
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 44 of 48

= TWEEN)

oy] fom uat=Meof-\0y=4qie-vecwoymdat= Wii illele=|er-lanm ve) |fex=u BY=) of-)autal=)erur-) ale ai t=
Dy=yoy-Vadpat=yalea .@(e/ar-)elr-Volendi| maniyen

98. On October 14, 2024, @NyawoFunwa50702 posted the following threat to kill
nc his family:

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e bd pay" 8) (ea | Uae Mea ret NY

od be} (orz1 p10 fee DY T a) gt=Vgre{ ez] 812)

aN Wes\ en) Ves \ ea
Smells

3

99. Later on October 14, 2024, @NyawoFunwa50702 posted the following threats to

Raleigh, Boston,'’ and Wilbraham:

'7 The Tweet states “Biston.” I believe, based on the context of this threat and Nyawo’s
previous threats, that this was a misspelling and that Nyawo intended to write “Boston.”
Case 3:25-cr-30015-MGM Document8_ Filed 02/07/25 Page 45 of 48

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100. On November 1, 2024, @MichaelJac46656 posted the threatening message “ISIS:
Attack Boston again.”

101. On November 2, 2024, @MichaelJac46656 posted the threatening message “Start
killing g [sic] the children of the Miami Police ISIS.”

102. On November 4, 2024, @MichaelJac46656 posted the threatening message
“Mujahideen from around the world: Go to boston. Shoot to kill. Preferably their children,”

followed by this image of what appears to be an ISIS battle flag:
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103. On November 4, 2024 at 16:22:02 UTC, @MichaelJac46656 posted the threatening
message “Republican Guard: go to Washington DC and assassinate the DC politicians. Afterwards
assassinate the political leadership of Miami and Florida. Get the training, support and money you
need from the cartels.” According to Twitter records, the closest session in time to this tweet began
at November 4, 2024 at 13:39:24 UTC and the IP address used for this session was 96.84.13.201.
According to Comcast, this IP address was subscribed to a Dennys restaurant in Miami, Florida.
Thus, I believe that Nyawo posted this threat from Miami.

104. On November 6, 2024 at 05:42:11 UTC, @MichaelJac46656 posted the threatening
message “ISIS and Al Qaeda: blow up a school in Miami. I'll use my “superpower' upgrade to help
you.” According to Twitter records, the closest session in time to this tweet began on November
6, 2024 at 05:41:34 UTC and the IP address used for this session was 8.34.6.227. According to
Hotwire, this IP address was subscribed to a condominium complex in Miami, Florida. Thus, I
believe that Nyawo posted this threat from Miami.

105. On November 7, 2024 at 20:47:02 UTC @MichaelJac46656 posted the following
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threat to kill the daughter a if
Robert Jacobs
@MichaeUac46656

your daughter is with her friends. Im going to kill her with

my upgrade

106. According to Twitter records, the closest session time to this tweet began on
November 7, 2024 at 20:46:51 UTC and the IP address associated with this threat was
66.177.240.89. According to Comcast, this IP address was subscribed to a Starbucks Coffee in
Miami, Florida. Thus, | believe that Nyawo posted this threat from Miami.

107. Also on November 7, 2024, @MichaelJac46656 posted the following threatening
messages:

a. “Assets you have a green light. Bomb miami.”

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b. “To the Miami PD: ISIS and Al Qaeda have been watching your children.
We know your children’s mother’s don't want you around them or your kids the
heat gets turned up on my. Message from the Islamic State: ‘The Islamic state is
going to blow their heads off.’” This message was followed by another image of
what appears to be the ISIS battle flag.

& “*Mathilda’, particularly target the children in Boston. Shoot to kill."

108. According to Twitter records, the IP address associated with the first two threats
specified in (a) and (b) is 96.8.17.98, and according to Hotwire, this IP address was subscribed to
the same condominium in Miami. Thus, I believe that Nyawo posted these threats from Miami.

CONCLUSION

109. Based on the information described above, | have probable cause to believe that on

September 11, 2024, Nyawo committed a violation of the Subject Offense.

Sworn to under the pains and penalties of perjury by:

Dated: January 30, 2025 /s/ Mia Piazza

MIA PIAZZA
TASK FORCE OFFICER
Signed electronically with authorization from FEDERAL BUREAU OF INVESTIGATION

FBI Task Force Officer Mia Piazza on January 30, 2025.

Subscribed and sworn to before me by reliable electronic means this 30th day of
January 2025.

/s/ Katherine A. Robertson
HONORABLE KATHERINE A. ROBERTSON
cores comeatibecantal UNITED STATES MAGISTRATE JUDGE

Robert M Clerk
U.S. Dist

Dipstr{etiof Massachusetts Signed electronically with authorization from
ay: Malion MR teu. Katherine A. Robertson, U.S. Magistrate Judge on January 30, 2025.

pate:_4/B0/2025

